Case: 1:15-cv-00669-JG Doc #: 30 Filed: 02/01/17 1 of 2. PageID #: 2132



 UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF OHIO
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                                                          :
 TODD WEST,                                               :      CASE NO. 1:15-CV-669
                                                          :
          Petitioner,                                     :
                                                          :
 vs.                                                      :      OPINION AND ORDER
                                                          :      [Resolving Doc. 1]
 MAGGIE BRADSHAW, Warden,                                 :
                                                          :
          Respondent.                                     :
                                                          :
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 JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

          Todd West petitions for habeas corpus relief under 28 U.S.C. § 2254.1 On December 29,

 2016, Magistrate Judge James R. Knepp II recommended that the Court dismiss the case.2

 Objections to Magistrate Judge Knepp’s Report and Recommendation were due by January 12,

 2017. Petitioner West has not filed objections to the Report and Recommendation.

          The Federal Magistrates Act requires a district court to conduct a de novo review only of

 those portions of a Report and Recommendation to which the parties have made an objection.3

 Absent objection, a district court may adopt the Report and Recommendation without review.4

          Because no party has objected to the Report and Recommendation, this Court may adopt

 the Report and Recommendation without further review. Moreover, having conducted its own

 review of the petition and record, the Court agrees with the conclusions in the Report and

 Recommendation.




 1
   Doc. 1. Respondent filed a return of writ. Doc. 12. Petitioner replied. Doc. 16. Respondent filed a sur-reply. Doc.
 17. Petitioner filed a supplemental response, Doc. 21, to which Respondent replied, Doc. 25. Petitioner then filed a
 second supplemental response. Doc. 26.
 2
   Doc. 29.
 3
   28 U.S.C. § 636(b)(1).
 4
   Thomas v. Arn, 474 U.S. 140, 149 (1985); L.R. 72.3(b).
Case: 1:15-cv-00669-JG Doc #: 30 Filed: 02/01/17 2 of 2. PageID #: 2133
 Case No. 1:15-CV-669
 Gwin, J.

        Accordingly, the Court ADOPTS Magistrate Judge Knepp’s Report and

 Recommendation and incorporates it fully herein by reference. The Court DENIES Petitioner’s

 habeas petition.



        IT IS SO ORDERED.



 Dated: February 1, 2017                               s/     James S. Gwin
                                                       JAMES S. GWIN
                                                       UNITED STATES DISTRICT JUDGE




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